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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

DENEISE INGRAM, as Legal Guardian            )    CASE NO. 8:09-cv-110
for KAREN CHANDLER,                          )
                                             )
       Plaintiff,                            )
                                             )     ORDER TO DISMISS
                      v.                     ) DEFENDANT COVENANT CARE, INC.
                                             )
COVENANT CARE MIDWEST, INC.,                 )
d/b/a NEBRASKA SKILLED NURSING               )
AND REHABILITATION, and                      )
COVENANT CARE, INC.                          )
                                             )
       Defendant.                            )

       NOW ON this 15th day of September, 2010, this matter came on before the Court upon the

Plaintiff’s Motion to Dismiss Defendant Covenant Care, Inc. as a party to this action. The Court

being fully advised in the premises finds that an Order for Dismissal should be granted.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

Defendant Covenant Care, Inc. is dismissed as a party to this action.



                                             BY THE COURT:

                                             /s Joseph F. Bataillon

                                             ____________________________________
                                             Chief Judge, United States District Court



PREPARED AND SUBMITTED BY:
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 13th day of September, 2010, I electronically
filed and the foregoing document with the Clerk of the Court by using the CM/ECF system
which sent notification of such filing upon all parties who filed an appearance or motion by
electronic filing in this case to the following:

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                                                      By   s/ Matthew G. Miller




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